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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

 UNITED STATES OF AMERICA

 v.                                                Case No: 8:03-CR-77-T-30TBM

 GHASSAN ZAYED BALLUT
 _____________________________/


                                         ORDER


        THIS CAUSE came on for consideration upon the Report and Recommendation
 dated May 28, 2004, submitted by Magistrate Judge Thomas B. McCoun, III (Dkt. #545).
        After careful consideration of the Report and Recommendation of the Magistrate
 Judge in conjunction with an independent examination of the file, the Court is of the opinion
 that the Magistrate Judge's Report and Recommendation should be adopted, confirmed, and
 approved in all respects.
        ACCORDINGLY, it is therefore, ORDERED AND ADJUDGED:
        1)     The Report and Recommendation of the Magistrate Judge is adopted,
 confirmed, and approved in all respects and is made a part of this order for all purposes,
 including appellate review.
        2)     The Court initially approves up to 50 hours of investigative work at a
 maximum hourly rate of $60.00 or a total of $3,000.00.
        DONE and ORDERED in Tampa, Florida on May 5, 2005.




 COPIES FURNISHED TO:
 Counsel/Parties of Record
